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3
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5
                                    UNITED STATES DISTRICT COURT
6
                            FOR THE EASTERN DISTSRICT OF CALIFORNIA
7

8                                                      )    Case No. CRS 09-0501 WBS
     United States of America,                         )
9                                                      )    STIPULATION AND [PROPOSED] ORDER
                      Plaintiff,                       )    CONTINUING STATUS CONFERENCE
10                                                     )    AND EXCLUDING TIME
              vs.                                      )
11                                                     )
     Rafael Aguilar, et al.,                           )
12                                                     )
                      Defendants.                      )
13

14
              Plaintiff, United States of America, by and through its counsel, Assistant United States

15   Attorney Jill Thomas, defendant, Gerardo Rangel, by and through his counsel, Clemente M.

16   Jimenez, defendant Rafael Aguilar, by and through his counsel, Timothy E. Warriner, and
17   defendant, Jose Cobian, by and through his counsel, Erin J. Radekin, agree and stipulate to
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     vacate the current status conference date of February 28, 2011, and to continue said status
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     conference to April 11, 2011, at 8:30 a.m., in the courtroom of the Honorable William B.
20
     Shubb.
21
              It is further agreed and stipulated that time shall continue to be excluded pursuant to the
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23
     Speedy Trial Act for the purpose of continued defense preparation and ongoing plea negotiation.

24   18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4. Counsel are continuing to engage in plea

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     negotiation, as well as trial preparation and investigation, and additional time is necessary for the
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     attorneys to meet with the prosecution and to confer with the clients.

3    IT IS SO STIPULATED.

4    Dated: February 24, 2011                      /s/ Jill Thomas,
                                                   Assistant United States Attorney
5
     Dated: February 24, 2011                      /s/ Clemente M. Jimenez, attorney for Defendant
6
                                                   Gerardo Rangel
7
     Dated: February 24, 2011                      /s/ Erin J. Radekin, attorney for Defendant, Jose
8                                                  Cobian

9    Dated: February 24, 2011                      /s/ Timothy E. Warriner, attorney for Defendant,
                                                   Rafael Aguilar
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11

12                                                 ORDER

13          For the reasons set forth in the accompanying stipulation, the status conference as to
14   defendants Rangel, Cobian, and Aguilar, now set for February 28, 2011 is vacated, and the
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     matter is continued to April 11, 2011 at 8:30 a.m. Time continues to be excluded through April
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     11, 2011 pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 for the purpose of
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     defense preparation.
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19   Dated: February 24, 2011
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